B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                            Southern District of Alabama
                                                   Case No. 12−01110
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Omar Flores Walstad
   8931 Sherman Rd.
   Foley, AL 36535
Social Security / Individual Taxpayer ID No.:
   xxx−xx−7852
Employer Tax ID / Other nos.:



                                            DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 8/7/12                                               WILLIAM S. SHULMAN
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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                                                United States Bankruptcy Court
                                                Southern District of Alabama
 In re:                                                                                                     Case No. 12-01110-WSS
 Omar Flores Walstad                                                                                        Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 1128-1                  User: holmes                       Page 1 of 2                          Date Rcvd: Aug 07, 2012
                                       Form ID: B18                       Total Noticed: 20


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Aug 09, 2012.
 db            +Omar Flores Walstad,    8931 Sherman Rd.,    Foley, AL 36535-5420
 aty           +Deetric Montgomery Hicks,    1587 Northeast Expressway,    Atlanta, GA 30329-2401
 aty           +James E. Loris, Jr.,    Loris Law Firm,    1358 Dauphin Street,    Mobile, AL 36604-2120
 cr            +Seterus, Inc.,    1587 NE Expressway,   Atlanta, GA 30329-2401
 2425181        CACH, LLC,   c/o Zarzaur & Schwartz, PC,     P.O. Box 11366,    Birmingham, AL 35202-1366
 2425182        Capital One Bank,    c/o Northland Group, Inc.,    P.O. Box 390846,    Minneapolis, MN 55439-0846
 2425184        Chase Bank USA, N.A.,    c/o Creditors Interchange,    80 Holtz Dr.,    Cheektowaga, NY 14225-1470
 2425185        DirecTV,   P.O. Box 78626,    Phoenix, AZ 85062-8626
 2425186       +Discover Bank,    c/o Nathan & Nathan, PC,    P.O. Box 1715,    Birmingham, AL 35201-1715
 2425187       +Gastroenterologist, P.C.,    1625 N Alston St.,    Foley, AL 36535-2208
 2425189        NYCB Mortgage Company, LLC,    P.O. Box 742579,    Cincinnati, OH 45274-2579
 2425190       +Oscar Scott’s Southern Dealer Trades,     218 S McKenzie St.,    Foley, AL 36535-1925
 2425191       +Precision Imagine,    1680 W 2nd St.,   Gulf Shores, AL 36542-3442
 2425192        Sacred Heart Medicaly Group,    P.O. Box 2699,    Pensacola, FL 32513-2699
 2425193        Seterus,   P.O. Box 4128,    Attention: Bankruptcy Dept.,     Beaverton, OR 97076-4128

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 tr           +EDI: QDILITTLETON.COM Aug 08 2012 01:53:00      Denise I. Littleton,   4321 Midmost Drive,
                Mobile, AL 36609-5532
 2449710      +EDI: ATLASACQU.COM Aug 08 2012 01:54:00      Atlas Acquisitions LLC,   294 Union St.,
                Hackensack, NJ 07601-4303
 2425183      +EDI: CAUT.COM Aug 08 2012 01:54:00      Chase Auto Finance,   P.O. Box 901076,
                Fort Worth, TX 76101-2076
 2425188      +EDI: MID8.COM Aug 08 2012 01:53:00      GE Money Bank,   c/o Midland Credit Management,
                8875 Aero Dr., Ste 200,   San Diego, CA 92123-2255
 2425194      +EDI: ALDEPREV.COM Aug 08 2012 01:54:00      State of Alabama,   Department of Revenue,
                P.O. Box 320001,   Montgomery, AL 36130-0001
                                                                                              TOTAL: 5

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 cr*             +Atlas Acquisitions LLC,   294 Union St.,   Hackensack, NJ 07601-4303
                                                                                                                     TOTALS: 0, * 1, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 09, 2012                                       Signature:



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                             Form ID: B18                Total Noticed: 20


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 7, 2012 at the address(es) listed below:
              Deetric Montgomery Hicks   on behalf of Creditor Seterus, Inc. dmhicks@jflegal.com
              Denise I. Littleton   diltrustee@bellsouth.net,
               ruth_boney@alsba.uscourts.gov;dlittleton@ecf.epiqsystems.com
              James E. Loris   on behalf of Debtor Omar Walstad lorislawfirm@gmail.com, lorisedge@msn.com
                                                                                            TOTAL: 3




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